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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                     Case No. 11-CR-20129-35

WAYNE R. WERTH,

           Defendant.
_________________________/

  ORDER DENYING MOTION TO PROCEED (PARTIALLY) PRO SE AND DENYING
                 LETTER REQUEST FOR DOCUMENTS

      Before the court is a “Motion for Leave to Proceed in Pro Se to Conduct and to

Request Pre-trial Discovery Issues,” filed pro se by Defendant Wayne R. Werth. In his

motion, Defendant requests to proceed pro se for the sole purpose of conducting

discovery, and discovery-related proceedings. He cites case law for the proposition that

he should be allowed to conduct discovery, while his counsel should be allowed to make

other motions on his behalf. In other words, he seeks to operate as a functional co-

counsel in tandem with his current attorney. He further submits a letter in which he asks

for certain documents and information from the clerk’s office.

      Defendant has previously been advised that he is not entitled to represent

himself while simultaneously represented by counsel. This means that, while a criminal

defendant has the right to appear pro se or by counsel, the right is disjunctive. Thus, a

party may chose either to represent himself or to appear through an attorney. See

McKaskle v. Wiggins, 465 U.S. 168, 183 (1984) (“ Faretta [ v. California, 422 U.S. 806,

95 S.Ct. 2525, 45 L.Ed.2d 562 (1975) ] does not require a trial judge to permit ‘hybrid’
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representation.”); see also United States v. Modena, 430 F. App’x 444, 446 (6th Cir.

2011) (finding that the defendant was not entitled to “split[] trial responsibilities” with his

counsel). After an earlier request to represent himself, Defendant reconsidered and

clearly and unequivocally chose to be represented by counsel. He may not now seek

an end-run around that decision by attempting to operate as co-counsel with his

attorney. His motion will therefore be denied. Not only is he not entitled to conduct

discovery proceedings while represented by counsel, but even the form of his

motion–submitted pro se while he is represented by counsel–is improper. Accordingly,

          IT IS ORDERED that Defendant Werth’s “Motion for Leave to Proceed in Pro Se

to Conduct and to Request Pre-trial Discovery Issues” [Dkt. # 684] and the

accompanying request for documents found in his recent pro se letter [Dkt. # 685] are

DENIED.

                                                              S/Robert H. Cleland
                                                             ROBERT H. CLELAND
                                                             UNITED STATES DISTRICT JUDGE
Dated: December 6, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 6, 2013, by electronic and/or ordinary mail.

                                                              S/Lisa Wagner
                                                             Case Manager and Deputy Clerk
                                                             (313) 234-5522




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